         Case 1:22-mj-00254-GMH Document 18 Filed 02/27/23 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :    CASE NO. 22-MJ-00254
                                                   :
                       v.                          :
                                                   :
 TYNG JING YANG                                    :
                                                   :
                             Defendant.            :


                                              ORDER

        Based upon the representation in the Government’s Consent Motion to Continue the Status

Conference and Preliminary Hearing and to Exclude Time under the Speedy Trial Act, and upon

consideration of the entire record, it is hereby

        ORDERED that the Motion is GRANTED; it is further ORDERED that the currently

scheduled status and preliminary hearing on March 7, 2023, be continued for good cause until

Tuesday, April 11, 2023, at 1:00 p.m.; and it is further

        ORDERED that the time between March 7, 2023, and April 11, 2023, shall be excluded

from calculation under the Speedy Trial Act, see 18 U.S.C. §§ 3161(b), 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy indictment and trial, as a continuance will

provide the parties additional time to continue negotiation a potential pretrial resolution and the

review discovery.                                                        Digitally signed by G.
                                                                         Michael Harvey
                                                                         Date: 2023.02.27
Date:                                                  ___________________________________
                                                                         11:48:31 -05'00'
                                                       JUDGE G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE



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